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                                          MINUTE ORDER                                                    Page 1

                                   Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                            Date: 12/22/2021 Time: 2:00 p.m.
Defendant: SERGIO ROMERO                     J#: 02651-506     Case #: 21-MJ-4371-TORRES
AUSA: Billie Fernandez                                Attorney: MICHAEL GELETY (Perm)
Violation: DISTRIBUTION AND RECEIPT OF CHILD PORNOGRAPHY

Proceeding: Pretrial Detention Hearing                              CJA Appt:
PTD Hrg Held:      Yes     No           Recommended Bond:
Bond Set      Pretrial Detention                                    Co-signed by:
at:
     Surrender and/or do not obtain passports/travel docs                 Language: English
     Report to PTS as directed/or            x’s a week/month by          Disposition:
     phone:          x’s a week/month in person                            Pretrial Detention Hearing held -
     Random urine testing by Pretrial
     Services                                                              The Court GRANTS the Government’s
     Treatment as deemed necessary                                         Motion for Pretrial Detention, danger
     Refrain from excessive use of alcohol                                 to the community
     Participate in mental health assessment & treatment
     Maintain or seek full-time employment/education
     No contact with victims/witnesses, except through counsel
     No firearms
     Not to encumber property
     May not visit transportation establishments
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                            Time from today to ________ excluded
     Other:                                                                 from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:           Time:           Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 14:04:22                                                     Time in Court: 20
                                    s/Edwin G. Torres                                    Magistrate Judge
